Case 9:21-cv-81290-RLR Document 1 Entered on FLSD Docket 07/26/2021 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
       MICHAEL LAURSEN
 __________________________________
 (Plaintiff Name(s))

                        SHORT-FORM COMPLAINT – VERSION 2

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Amended Master Personal Injury Complaint (“AMPIC”) in In re: Zantac (Ranitidine) Products

 Lability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint –

 Version 2 as permitted by Pretrial Order No. 31 and as modified by the Court’s Orders regarding

 motions to dismiss [DE 2532, 2512, 2513, 2515, and 2016].

        Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.      Plaintiff(s) MICHAEL   LAURSEN (“Plaintiff(s)”) brings this action (check the
                             ____________________
                applicable designation):

                               On behalf of [himself/herself];




                                                 -1-
Case 9:21-cv-81290-RLR Document 1 Entered on FLSD Docket 07/26/2021 Page 2 of 6




                               In representative capacity as the __________________, on behalf
                               of     the     injured    party,    (Injured  Party’s   Name)
                               ___________________.

        2.      Injured Party is currently a resident and citizen of (City,                    State)
                 Fenton, Michigan
                _________________________ and claims damages as set forth below.

                                                       —OR—

                Decedent died on (Month, Day, Year) _______________. At the time of
                Decedent’s death, Decedent was a resident and citizen of (City, State)
                _________________________.

 If any party claims loss of consortium,

        3.      _________________ (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) _________________________.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                _________________________.


    B. DEFENDANT(S)


        6.      Plaintiff(s) name(s) the following Defendants from the Amended Master Personal
                Injury Complaint in this action:

                    a. Brand-Name Manufacturers:

                       Boehringer Ingelheim Corporation
                       Boehringer Ingelheim International GmbH
                       Boehringer Ingelheim Pharmaceuticals, Inc.,
                       Boehringer Ingelheim Promeco, S.A. de C.V.,

                       GlaxoSmithKline (America) Inc.,
                       GlaxoSmithKline LLC
                       GlaxoSmithKline PLC

                       Pfizer Inc.,


                    a. Generic Manufacturers:


                   b. Distributors and Repackager:

                                                 -2-
                    c. Retailers:
Case 9:21-cv-81290-RLR Document 1 Entered on FLSD Docket 07/26/2021 Page 3 of 6




    C. JURISDICTION AND VENUE


       7.     Identify the Federal District Court in which Plaintiff(s) would have filed this action
              in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
              Court to which their original action was removed]:
                   Eastern District of Michigan
       8.     Jurisdiction is proper upon diversity of citizenship.



                                    II.     PRODUCT USE


       9.     The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                              By prescription

                              Over the counter

       10.    The Injured Party used Zantac and/or generic ranitidine from approximately
                            1990
              (month, year) _______________      2015
                                            to _______________.


                                 III.     PHYSICAL INJURY


       11.    As a result of the Injured Party’s use of the medications specified above, [he/she]
              was diagnosed with the following specific type of cancer (check all that apply):

  Check all Cancer Type                                               Approximate Date of
  that                                                                Diagnosis
  apply
            BLADDER CANCER
            BREAST CANCER
            COLORECTAL/INTESTINAL CANCER
            ESOPHAGEAL CANCER
            GASTRIC CANCER
            KIDNEY CANCER                                                5/23/2019
            LIVER CANCER
            LUNG CANCER
            PANCREATIC CANCER
            PROSTATE CANCER
            OTHER CANCER:

             DEATH (CAUSED BY CANCER)




                                                -3-
Case 9:21-cv-81290-RLR Document 1 Entered on FLSD Docket 07/26/2021 Page 4 of 6




         12.     Defendants, by their actions or inactions, proximately caused the injuries to
                 Plaintiff(s).


                            IV.     CAUSES OF ACTION ASSERTED

         13.     The following Causes of Action asserted in the Amended Master Personal Injury
                 Complaint are asserted against the specified defendants in each class of Defendants
                 enumerated therein, and the allegations with regard thereto are adopted in this Short
                 Form Complaint by reference.

         14.     By checking the appropriate causes of action below, Plaintiff(s) assert these causes
                 of action based upon the law and applicable Sub-Counts of the following state(s): 1



     Check      Count                      Cause of Action                        States for which
     all that                                                                     the cause of action
     apply                                                                        was asserted in
                                                                                  the AMPIC
                  I      Strict Products Liability – Failure to Warn through      All States and
                         Warnings and Precautions (Against Brand-Name             Territories, Except
                         Manufacturer Defendants)                                 DE, IA, MA, NC,
                                                                                  PA, and VA
                  II     Negligence – Failure to Warn through Warnings            All States and
                         and Precautions (Against Brand-Name                      Territories, Except
                         Manufacturer Defendants)                                 LA, NJ, OH, and
                                                                                  WA
                 III     Strict Products Liability – Failure to Warn through      All States and
                         Proper Expiration Dates (Against Brand-Name and          Territories, Except
                         Generic Manufacturer Defendants)                         DE, IA, MA, NC,
                                                                                  PA, and VA
                 IV      Negligence – Failure to Warn through Proper              All States and
                         Expiration Dates (Against Brand-Name and                 Territories, Except
                         Generic Manufacturer Defendants)                         LA, NJ, OH, OK,
                                                                                  and WA
                  V      Negligence - Failure to Warn Consumers through           CA, DE, DC, HI,
                         the FDA (Against Brand-Name and Generic                  IN, KY, LA, MD,
                         Manufacturer Defendants)                                 MA, MN, MO,
                                                                                  NV, NY, OR, and
                                                                                  PA
                 VI      Strict Products Liability – Design Defect Due to         All States and
                         Warnings and Precautions (Against Brand-Name             Territories, Except
                         Manufacturer Defendants)

 1
   In selecting the relevant states above, Plaintiffs reserve all rights to argue choice of law issues at
 a later time.



                                                  -4-
Case 9:21-cv-81290-RLR Document 1 Entered on FLSD Docket 07/26/2021 Page 5 of 6




    Check      Count                      Cause of Action                        States for which
    all that                                                                     the cause of action
    apply                                                                        was asserted in
                                                                                 the AMPIC
                                                                                 DE, IA, MA, NC,
                                                                                 PA, and VA
                VII     Strict Products Liability – Design Defect Due to         All States and
                        Improper Expiration Dates (Against Brand-Name            Territories, Except
                        and Generic Manufacturer Defendants)                     DE, IA, MA, NC,
                                                                                 PA, and VA
               VIII     Negligent Failure to Test (Against Brand-Name            KS, TX
                        and Generic Manufacturer Defendants)
                IX      Negligent Product Containers: (Against Brand-            All States and
                        Name and Generic Manufacturers of pills)                 Territories
                 X      Negligent Storage and Transportation Outside the         All States and
                        Labeled Range (Against All Retailer and                  Territories
                        Distributor Defendants)
                XI      Negligent Storage and Transportation Outside the         All States and
                        Labeled Range (Against All Brand-Name and                Territories
                        Generic Manufacturer Defendants)
                XII     Negligent Misrepresentation (Against Brand-Name          CA only
                        Manufacturers by Generic Consumers in
                        California)
               XIII     Reckless Misrepresentation (Against Brand-Name           MA only
                        Manufacturers by Generic Consumers in
                        Massachusetts)
               XIV      Unjust Enrichment (Against All Defendants)               All States and
                                                                                 Territories
                XV      Loss of Consortium (Against All Defendants)              All States and
                                                                                 Territories
               XVI      Wrongful Death (Against All Defendants)                  All States and
                                                                                 Territories

                If Count XV or Count XVI is alleged, additional facts supporting the claim(s):




                                          V.      JURY DEMAND

        15.     Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.




                                                 -5-
Case 9:21-cv-81290-RLR Document 1 Entered on FLSD Docket 07/26/2021 Page 6 of 6




                                    VI.    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

 action, jointly and severally to the full extent available in law or equity, as requested in the

                            Amended Master Personal Injury Complaint.



 Dated: July 26, 2021

 Respectfully Submitted,

 /s/Fatima Abuzerr
 Fatima Abuzerr
 MOLL LAW GROUP
 22 W. Washington St, 15th Floor
 Chicago, IL 60602
 T: (312) 462-1700
 fabuzerr@molllawgroup.com
 Counsel for Plaintiff(s)




                                              -6-
